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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

JON CHAPMAN,                                      §
                                                  §
       Plaintiff,                                 §
                                                  §
v.                                                §   CIVIL ACTION NO. 4:18-cv-02726
                                                  §
TEXAS DEPARTMENT OF FAMILY AND                    §
PROTECTIVE SERVICES,                              §
                                                  §
       Defendant.                                 §

                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       COMES NOW Plaintiff Jon Chapman (“Plaintiff”) and Defendant Texas Department of

Family and Protective Services (“Defendant”), by and through their attorneys-of-record, and

pursuant to FED. R. CIV. P. 41(a), file this Stipulation moving to dismiss with prejudice all claims

and causes of action in the above-captioned case and in support would show that the Plaintiff and

the Defendant have agreed to settle and compromise all matters at issue between them.

       WHEREFORE, Plaintiff and Defendant pray that all of Plaintiff’s claims and causes of

action against Defendant be dismissed with prejudice.
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Respectfully submitted,                                    Respectfully submitted,

TEXAS DFPS                                                 AHAD KHAN LAW PLLC

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       ATTORNEY-IN-CHARGE FOR DEFENDANT                    ATTORNEY-IN-CHARGE FOR
                                                           PLAINTIFF


                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served upon
the counsel of record listed below by the Southern District of Texas CM/ECF method on the 23rd
day of April 2019.

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                                                   /s/ Ahad Khan
                                                   Ahad Khan




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